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6
                                  IN THE FEDERAL DISTRICT COURT
7
                             FOR THE WESTERN DISTRICT OF WASHINGTON
8
     DAVID ARTHUR MORALES,                        )            NO.
9
                                                  )
10                     Plaintiff,                 )
                                                  )            COMPLAINT FOR DAMAGES
11           vs.                                  )
                                                  )                  (Demand for Jury Trial)
12
     CITY OF BELLINGHAM, a Municipal              )
13   Corporation; HEIDI SANDE and JOHN DOE )
     SANDE, husband and wife and the marital      )
14   community comprised thereof; JOSHUA          )
     DANKE and JANE DOE DANKE, husband )
15
     and wife and the marital community comprised )
16
     thereof; JEFFERY YODER and JANE DOE )
     YODER, husband and wife and the marital      )
17   community comprised thereof; KYLE            )
     NELSON and JANE DOE NELSON,                  )
18   husband and wife and the marital community )
19
     comprised thereof; ERIC KINGERY and          )
     JANE DOE KINGERY, husband and wife           )
20   and the marital community comprised thereof, )
                                                  )
21                     Defendants.                )
22           COMES NOW David Arthur Morales, the above-named Plaintiff, and for cause of
23   action against the above-named Defendants, complains and alleges that:

24                                           I. JURISDICTION
             1.1     The above-entitled Court has jurisdiction over the parties and the subject matter
25
     of the above-entitled cause of action. The acts and failures to act by the Defendants support
26
     relief under 42 USC § 1983 for violation of Plaintiff’s civil rights under color of state law.
27

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1           1.2     These claims arise under the Constitution, laws or treaties of the United States
2    and this court has original jurisdiction over them pursuant to 28 USC § 1331 and 1343.

3           1.3     This action also asserts a state law claim arising out of the same matters as the

4
     federal claim. The court has supplemental jurisdiction over the state claim pursuant to 28 USC
     § 1441 (c).
5

6
                                                II. VENUE
7
            2.1     The Federal District Court for Western Washington is the proper Court for
8
     bringing the above-entitled cause of action as all acts and failures to act alleged herein occurred
9    in Western Washington.
10                                             III. PARTIES
11          3.1     The Plaintiff, David Morales, is a resident of Bellingham, Washington and has

12
     resided in Bellingham Washington at all times relevant hereto.
            3.2     The Defendant, City of Bellingham is a municipal corporation organized and
13

14   existing under the laws of the State of Washington, in Whatcom County.

15          3.3     The Defendant, Heidi Sande, is, and at all times material was, a parking
16
     enforcement officer employed by the Defendant City of Bellingham acting within the course and
17
     scope of her employment and acting for the benefit of her marital community with John Doe Sande,
18
     whose true name will be added when discovered.
19

20          3.4     The Defendant, Joshua Danke, is, and at all times material was, a police officer

21   employed by the Defendant City of Bellingham acting within the course and scope of his
22
     employment and acting for the benefit of his marital community with Jane Doe Danke, whose true
23
     name will be added when discovered.
24
            3.5     The Defendant, Jeffery Yoder, is, and at all times material was, a police officer
25

26
     employed by the Defendant City of Bellingham acting within the course and scope of his

27

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1    employment and acting for the benefit of her marital community with Jane Doe Yoder, whose true
2
     name will be added when discovered.
3
             3.6     The Defendant, Eric Kingery, is, and at all times material was, a police officer
4
     employed by the Defendant City of Bellingham acting within the course and scope of his
5

6    employment and acting for the benefit of his marital community with Jane Doe Kingery, whose true

7    name will be added when discovered.
8
             3.7     The Defendant, Kyle Nelson, is, and at all times material was, a police officer
9
     employed by the Defendant City of Bellingham acting within the course and scope of his
10
     employment and acting for the benefit of his marital community with Jane Doe Nelson, whose true
11

12
     name will be added when discovered.

13                                   IV. GENERAL ALLEGATIONS
14

15
             4.1     The Plaintiff was lawfully riding his bike in the designated bike lane of N. State
     Street in Bellingham, Washington on January 4, 2017.
16
             4.2     Defendant Sande positioned her parking enforcement vehicle to block the bike lane
17

18
     on N. State Street.

19           4.3     When Defendant Sande blocked the designated bike lane, Plaintiff’s bike was forced

20   to enter general traffic on N. State Street.
21
             4.4     On January 4, 2017, Defendant Sande blocked the bike lane on N. State Street.
22
             4.5     On January 4, 2017, Plaintiff stopped to ask Defendant Sande to stop blocking the
23
     bike lane and putting bicyclists at risk.
24

25           4.6.    Plaintiff rapped on the window of the parking enforcement vehicle to get Defendant

26   Sande’s attention. She looked up from the paperwork and Plaintiff made the roll-down your
27
     window motion so they could talk. Defendant Sande shook her head “no” with a smile and made
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1    the phone-to-head motion and mouthed “call”. Defendant Sande’s response surprised Plaintiff.
2
     Plaintiff threw his hands up in frustration and threaded his bike between the parking enforcement
3
     vehicle and a parked car and rode away.
4
             4.7     Two days later on January 6, 2017, while bike commuting at the same location and
5

6    at a similar time, Plaintiff was pulled over by Officer Danke. Within minutes, a second Bellingham

7    SUV and a motorcycle officer arrived. Also on the scene was Defendant Sande in her parking
8
     enforcement vehicle. Plaintiff was arrested by Defendants Danke and Nelson.
9
             4.8     Defendant Danke’s SUV was parked to block the bike lane. Plaintiff mentioned to
10
     Defendant Danke the safety issues created by blocking he bike lane. Defendant Danke responded
11

12
     many concessions were already afforded bicycles and bikers are responsible for their own safety.

13           4.9     Plaintiff was arrested at approximately 1:15 p.m.
14           4.10    Defendant Danke proceeded to drive Plaintiff around Bellingham for approximately
15
     one hour before he was booked in Whatcom County Jail.
16
             4.11    Defendant Danke knew that Plaintiff would not be able to appear before a judge
17

18
     until Sunday if he arrived at the jail after the 3:00 p.m. calendar on Friday.

19           4.12    Defendant Danke took all steps necessary to insure Plaintiff would be forced to

20   spend two days in jail before appearing before a judge.
21
             4.13    Plaintiff was released on $5,000.00 bail on Sunday, January 8, 2017.
22
             4.14    The charges against Plaintiff were dismissed without prejudice on April 14, 2017.
23
             4.15    Plaintiff was held in the Whatcom County jail from his January 6, 2017 arrest by
24

25   Defendant’s Danke, Nelson, Kingery and Yoder until he posted bail on January 8, 2017.

26           4.16    Plaintiff suffered harms and losses due to the unlawful arrest and incarceration in an
27
     amount to be proven at trial.
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1             4.17   Plaintiff is entitled to penalty damages, in the discretion of the court, actual costs of
2
     suit and reasonable attorney’s fees pursuant to 42 USC § 1983.
3
                                       V. FIRST CAUSE OF ACTION
4
                                  PURSUANT TO 42 USC SECTION 1983
5

6              Fourth Amendment Violation of Right to be Free from Unreasonable Seizure

7             5.1    Plaintiff incorporates by reference the allegations contained in paragraphs 4.1 to 4.17
8
     above.
9
              5.2    By arresting Plaintiff, Defendants acted under color of law to deprive Plaintiff of his
10
     constitutionally protected rights, including, but not limited to, the right to be free from unreasonable
11

12
     searches and seizures and the right to be free from wrongful incarceration as guaranteed by the

13   Fourth and Fourteenth Amendment to the United States Constitution.
14            5.3    Defendants were without warrant and did not have probable cause to arrest Plaintiff.
15
              5.4    Defendants were not statutorily authorized to make a warrantless misdemeanor
16
     arrest pursuant to RCW 10.31.100.
17

18
              5.5    Plaintiff was harmed by the seizure of his person in that Defendants caused him

19   mental distress by placing him in handcuffs, embarrassing him in public, impounding his bicycle

20   and personal items, implying that he had committed a crime, and incarcerating him for two days.
21
              5.6    In addition, Plaintiff’s pre-existing lower-back conditions were aggravated by the
22
     incarceration. The steel cot without padding, stress of not knowing why being held or when
23
     incarceration would end put Plaintiff’s back into spasms.
24

25

26

27

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1                                    VI. SECOND CAUSE OF ACTION
2
                         FAILURE TO ADEQUATELY TRAIN OR SUPERVISE
3
              6.1    Plaintiff incorporates by reference the allegations contained in paragraphs 5.1 to 5.6
4
     above.
5

6             6.2    At all times material the City of Bellingham had a duty of care to properly hire,

7    train, retrain, supervise and discipline its officers so as to avoid unreasonable risk of harm to
8
     citizens.
9
              6.3    With deliberate indifference the City of Bellingham failed to take necessary, proper
10
     or adequate measures in order to prevent the violation of Plaintiff’s rights and the injury to the
11

12
     Plaintiff.

13            6.4    The need to train officers on the constitutional limits for the seizure of persons is so
14   obvious that failure to do so shows “deliberate indifference” to Plaintiff’s constitutional rights.
15
              6.5    The City of Bellingham breached its duty of care to Plaintiff by failing to adequately
16
     train or supervise its police officers, particularly Parking Enforcement Officer Heidi Sande and
17

18
     Officers Joshua Danke, Jeffrey Yoder, Kyle Nelson and Eric Kingery.

19            6.6    The City of Bellingham is liable pursuant to 42 USC § 1983 for failure to properly

20   train and supervise its police officers, particularly Parking Enforcement Officer Heidi Sande and
21
     Officers Joshua Danke, Jeffrey Yoder, Kyle Nelson and Eric Kingery and any others disclosed with
22
     discovery.
23
              6.7    The City of Bellingham is also liable pursuant to 42 USC § 1983 for failure to
24

25   adequately train or supervise its police officers, particularly Parking Enforcement Officer Heidi

26   Sande and Officers Joshua Danke, Jeffrey Yoder, Kyle Nelson and Eric Kingery, on how to comply
27
     with RCW 10.31.100, and determine when an arrest is authorized for a misdemeanor offense
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1    committed outside of the officer’s presence. This lack of adequate training and supervision shows a
2
     deliberate indifference to the constitutional rights of Plaintiff.
3
               6.8   The City of Bellingham breached its duty of care to Plaintiff by failing to adequately
4
     train or supervise its police officers, particularly Parking Enforcement Officer Heidi Sande and
5

6    Officers Joshua Danke, Jeffrey Yoder, Kyle Nelson and Eric Kingery, on how to comply with RCW

7    10.31.100 and determine when an arrest is authorized for a misdemeanor offense committed outside
8
     of the officer’s presence. This lack of adequate training and supervision shows a deliberate
9
     indifference to the constitutional rights of Plaintiff.
10
               6.9   The City of Bellingham’s failure to properly train and supervise its police officers is
11

12
     the proximate and real cause of the harms and losses suffered by Plaintiff.

13

14                                    VII. ACTION FOR NEGLIGENCE
15
               7.1   Plaintiff incorporates by reference the allegations contained in paragraphs 6.1 to 6.9
16
     above.
17

18
               7.2   Plaintiff alleges Defendants breached a duty of care owed to the Plaintiff by

19   negligently arresting and imprisoning him without a warrant, probable cause or statutory authority.

20             7.3   As a result of the negligent arrest and imprisonment the Plaintiff suffered harms and
21
     losses.
22
               7.4   Defendants are liable for the harms and losses suffered by the Plaintiff due to his
23
     unlawful arrest on January 6, 2017 and subsequent charges and incarceration.
24

25

26

27

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1                                VIII. AMENDMENT OF COMPLAINT
2
             8.1     The Plaintiff hereby reserves the right to amend the parties and causes of action
3     throughout this complaint to conform to the evidence.
4

5            WHEREFORE, David Morales, the above-named Plaintiff, prays that a judgment be

6    entered against each of the above-named Defendants for the causes of action set forth above in an
7
     amount to be proven at trial, for penalty damages, actual costs of suit and reasonable attorney’s fees
8
     pursuant to 42 USC § 1983 and for such other and further relief as the court deems just and
9
     equitable under the premises.
10

11

12                                            IX.     JURY DEMAND
13
             Plaintiff, by and through his attorneys and pursuant to Federal Rule of Civil Procedure 38,
14
     demands a trial by jury on all issues triable by jury.
15

16

17           DATED this 18th day of December, 2019.

18                                                   LESTER & ASSOCIATES, P.S., INC.
19

20                                                   /s/ Tom Lester__________________________
                                                     Tom Lester, WSBA #15814
21                                                   Attorney for Plaintiff
22

23

24

25

26

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1

2
                                          VERIFICATION
3
     STATE OF WASHINGTON                 )
4                                        ) ss.
     COUNTY OF WHATCOM                   )
5

6          I, David Morales, being first duly sworn, upon oath, deposes and says:

7         That I am the Plaintiff above named; that I have read the foregoing Complaint for
     Damages; know the contents thereof, and believe the same to be true.
8

9
                                                 /s/ David Morales
10                                               David Morales
                                                 Plaintiff
11

12
           SUBSCRIBED AND SWORN to before me this 18th day of December, 2019.
13

14                                               /s/ Sherri Courtney
                                                 NOTARY PUBLIC in and for the
15
                                                 State of Washington.
16                                               My Commission expires: 4/18/20
17

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